Case 4:01-cr-00029-SDJ-KPJ           Document 388        Filed 10/28/10      Page 1 of 3 PageID #:
                                             215




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 v.                                               §    CRIMINAL NO. 4:01cr29
                                                  §
 PATRICK NEAL ROSS (8)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Court referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on October 26, 2010, to determine whether Defendant violated his supervised

 release. Defendant was represented by Frank Henderson. The Government was represented by

 Ernest Gonzalez

         On September 28, 2001, Defendant was sentenced by the Honorable Paul Brown, United

 States District Judge, to a sentence of 151 months of imprisonment concurrent with Judgments in

 the 336th Judicial District Court, Grayson, County, Texas, followed by an eight-year term of

 supervised release for the offense of conspiracy to manufacture, distribute, possess with intent to

 manufacture distribute, dispense cocaine base. On December 18, 2006, this case was re-assigned

 to the Honorable Michael H. Schneider, United States District Judge. On May 9, 2008, after

 considering a motion filed pursuant to Title 18 U.S.C. § 3582(c)(2), the Court reduced the

 imprisonment term to 121 months. Defendant’s term of supervision commenced on February 18,

 2009.




                                                  1
Case 4:01-cr-00029-SDJ-KPJ           Document 388         Filed 10/28/10      Page 2 of 3 PageID #:
                                             216



        On September 9, 2010, the U.S. Probation Officer filed a Petition for Warrant or Summons

 for Offender under Supervision (the “Petition”) (Dkt. 378). The Petition asserts that Defendant

 violated the following conditions of supervision: (1) Defendant shall not commit another federal,

 state, or local crime; (2) Defendant shall not illegally possess a controlled substance; (3) Defendant

 shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or

 administer any controlled substance or any paraphernalia related to any controlled substances, except

 as prescribed by a physician; (4) Defendant shall work regularly at a lawful occupation unless

 excused by the probation officer for schooling, training or other acceptable reasons; and (5)

 Defendant shall pay a $4,000 fine to be paid on a monthly basis at the rate of at least 10% of

 Defendant’s monthly gross income.

        The Petition alleges that Defendant committed the following violations: (1) on or about

 August 10, 2010, Defendant was arrested by the Sherman, Texas, Police Department and charged

 with possession of marijuana, and the charge is still pending in Grayson County; (2) on or about

 August 10, 2010, Defendant was arrested by the Sherman, Texas, Police Department and charged

 with failure to identify-fugitive, and this charge is still pending in Grayson County; (3) Defendant

 has failed to work regularly at a lawful occupation for the months of April, June, July, August,

 September, and December, 2009, as well as January, February, April, and May, 2010; and (4)

 Defendant has failed to make a payment toward the fine for the months of April, May, July, August,

 September, October, November and December, 2009, as ell as January, February, April, May, July

 and August, 2010, and as the date of the filing of the Petition, an outstanding fine balance of

 $3,782.53 remained.




                                                   2
    Case 4:01-cr-00029-SDJ-KPJ           Document 388        Filed 10/28/10      Page 3 of 3 PageID #:
                                                 217



               At the hearing, based on an agreement reached with the Government, Defendant entered a

     plea of true to the allegation that he has failed to work regularly at a lawful occupation for the

     months of April, June, July, August, September, and December, 2009, as well as January, February,

     April, and May, 2010. As to other violations, Defendant entered a plea of not true. Defendant

     waived his right to allocute before the district judge and his right to object to the report and

     recommendation of this Court. Based on the condition to which Defendant did plead true, the Court

     finds that he has violated the terms of his supervised release and that his supervised release should

     be revoked.

                                          RECOMMENDATION

               Pursuant to the Sentencing Reform Act of 1984 and having considered the arguments

     presented at the October 26, 2010 hearing, the Court recommends that Defendant be committed to

.    the custody of the Bureau of Prisons to be imprisoned for a term of 8 months, with 60 months of

     supervised release to follow as to Count I and 28 months of supervised release to follow as to Count

     XVIII, to run concurrently with each other but consecutively to any misdemeanor charges being

     served.

                SIGNED this 28th day of October, 2010.

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                                                      ____________________________________
                                                      DON D. BUSH
                                                      UNITED STATES MAGISTRATE JUDGE




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